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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA

                    CIVIL ACTION NO. 6:21-cv-694-CEM-DCI

 SECURITIES AND EXCHANGE COMMISSION,

              Plaintiff,
 v.

 HARBOR CITY CAPITAL CORP.,
 HARBOR CITY VENTURES, LLC,
 HCCF-1 LLC,
 HCCF-2 LLC,
 HCCF-3 LLC,
 HCCF-4 LLC,
 HCCF-5 LLC,
 HARBOR CITY DIGITAL VENTURES, INC.,
 HCC MEDIA FUNDING, LLC,
 JONATHAN P. MARONEY,

              Defendants,
 and

 CELTIC ENTERPRISES, LLC and
 TONYA L. MARONEY,

             Relief Defendants.
 ______________________________________________________/


 DEFENDANT JONATHAN MARONEY’S UNOPPOSED MOTION FOR STAY

       Defendant Jonathan Maroney, pro se, hereby respectfully request that the

 Court stay all Court deadlines until the end of parallel criminal proceedings involving

 Maroney. Defendant Jonathan Maroney, who is proceeding pro se in this action, is

 currently the target in a related criminal investigation and has had a Federal Public

 Defender appointed to defend him in the criminal proceedings.         Given that Mr.
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 Maroney does not have counsel in this civil proceeding, he requests that this action

 be stayed until the criminal proceedings are concluded.

       Both this civil case and the criminal investigation involve Defendant Maroney,

 and involve the same conduct and events. A stay is needed to allow Defendant

 Maroney to preserve certain rights and to keep the parties from impermissible taking

 advantage of the civil discovery process to circumvent the limitations on criminal

 discovery that protect the integrity of criminal prosecutions.

       As to whether the requested stay should be granted, the courts of this Circuit

 look to whether “special circumstances” exist, such that a stay is required in the

 “interests of justice.” United States v. Lot 5, Fox Grove, Alachua Cnty., Fla., 23 F.3d

 359, 364 (11th Cir. 1994); see also United States v. Pinnacle Quest Int’l, No. 3:08-cv-

 136, 2008 WL 4274498, at *1 (N.D. Fla. Sept. 11, 2008) (“[I]f there is a ‘civil

 enforcement action that proceeds in parallel with a related criminal proceeding, it is

 often appropriate to stay the civil action pending resolution of the criminal

 proceedings.’” (quoting SEC v. Tandem Mgmt., No. 95 CIV. 8411, 2001 WL 1488218,

 at *4 (S.D.N.Y. Nov. 21, 2001.

       Here, the requested stay eliminates the need for Defendant Maroney to choose

 between (i) invoking his Fifth Amendment privilege in this civil case, which could be

 used against him in the civil litigation and (ii) testifying (whether at deposition or

 otherwise) in the civil case, which statements could be used against him in the

 criminal case. See, e.g., Chagolla v. City of Chi., 529 F. Supp. 2d 941, 947 (N.D. Ill.

 2008) (“A civil defendant in this situation who is effectively backed into a corner in
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 which he has no viable choice but to claim the privilege is forced to face a significant

 risk of unfair prejudice that may be virtually impossible to remedy.”); Bridgeport

 Harbor Place I, LLC v. Ganim, 269 F. Supp. 2d 6, 9 (D. Conn. 2002) (describing a

 “Hobson’s Choice” facing defendants).

       In addition, the SEC does not oppose the stay as such stay would benefit this

 Court and all parties by minimizing redundant litigation and narrowing the issues to

 be adjudicated in this case. See, e.g., Emich Motors Corp. v. Gen. Motors Corp., 340

 U.S. 558, 568 (1951) (“It is well established that a prior criminal conviction may work

 an estoppel in favor of the Government in a subsequent civil proceeding.”); In re

 Worldcom, Inc. Sec. Litig., No. 02 Civ. 3288, 2002 WL 31729501, at *8 (S.D.N.Y. Dec.

 5, 2002) (“The conviction of a civil defendant as a result of the entry of a plea or

 following a trial can contribute significantly to the narrowing of issues in dispute in

 the overlapping civil cases and promote settlement of civil litigation.”)

       WHEREFORE, for all of the foregoing reasons, Defendant Maroney request a

 stay of all Court deadlines in this matter until the conclusion of criminal proceedings

 against Maroney (with the exception of the Receiver’s work which should proceed as

 scheduled).

       The undersigned has conferred with counsel for the SEC and is authorized to

 represent that the SEC does not opposed the motion.

                                                       Dated Oct. 21, 2022

 Respectfully submitted,


 s/ Jonathan P. Maroney pro se Defendant
